 Case 4:20-cv-00973-SDJ Document 36 Filed 11/10/21 Page 1 of 2 PageID #: 563




                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION

YOUNG CONSERVATIVES OF                      §
TEXAS FOUNDATION                            §
                                            §
v.                                          §   CIVIL NO. 4:20-CV-973-SDJ
                                            §
THE UNIVERSITY OF NORTH                     §
TEXAS, ET AL.                               §

                             ORDER TO SHOW CAUSE

      On October 28, 2021, this Court denied the motion to dismiss filed by

Defendants the University of North Texas; the University of North Texas System;

Neal Smatresk, in his official capacity as the University’s president; and Shannon

Goodman, in his official capacity as the University’s Vice President for Enrollment.

(Dkt. #34). In doing so, the Court concluded that Plaintiff Young Conservatives of

Texas Foundation (“Young Conservatives”) has stated an official-capacity equitable

claim under Ex parte Young, 209 U.S. 123, 28 S.Ct. 441, 52 L.Ed. 714 (1908), against

Defendants Smatresk and Goodman. But, as the Court also explained, an Ex parte

Young action for prospective, injunctive relief is cognizable only against state officials

in their official capacities. (Dkt. #34 at 10–11). The question thus remains whether

Young Conservatives has a cause of action for its preemption claim against the entity

defendants, the University of North Texas and the University of North Texas System.

       It is therefore ORDERED that, on or before November 19, 2021, Young

Conservatives must file a response no longer than five (5) pages showing why

Defendants the University of North Texas and the University of North Texas System




                                            1
 Case. 4:20-cv-00973-SDJ Document 36 Filed 11/10/21 Page 2 of 2 PageID #: 564




should not be dismissed from this lawsuit. If dismissal of the case as to the University

of North Texas and the University of North Texas System is satisfactory to Young

Conservatives, Young Conservatives should note so in its response. Failure to

respond will result in dismissal of the University of North Texas and the University

of North Texas System without further notice.

        So ORDERED and SIGNED this 10th day of November, 2021.




                                                    ____________________________________
                                                    SEAN D. JORDAN
                                                    UNITED STATES DISTRICT JUDGE




                                           2
